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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                     No. 4:16CR00072-01 JLH

DARRYL DAYON MADDEN                                                                 DEFENDANT

                                              ORDER

       Defendant Darryl Dayon Madden appeared for plea and arraignment before United States

Magistrate Judge Joe J. Volpe in this district on August 25, 2016. The docket reflects that Judge

Volpe adopted the order of detention previously entered in the Western District of Oklahoma by

United States Magistrate Judge Shon T. Erwin on July 26, 2016. Madden subsequently filed a

motion to modify pretrial release which must be addressed as an appeal to the district judge in this

particular case since the detention hearing was held in the district of arrest. Document #74.

       The Court has before it the transcript of the Western District of Oklahoma detention hearing,

as well as the motion to modify and the response filed by the government. The parties are directed

to inform the Court by written correspondence if they wish to supplement the record by presenting

additional evidence on this subject. Otherwise, the record will be closed and the Court will conduct

a de novo review of the record before it and issue its ruling.

       IT IS SO ORDERED this 13th day of September, 2016.



                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
